
THREADGILL, Judge.
Appellant, Carl Guy Piper, challenges the trial court’s assessment of $846.25 in court costs in the written judgment and sentence where the trial judge failed to notify him at sentencing that such costs would be imposed. The only costs announced at sentencing were $50 for public defender services and $20 for the crime victim fund. We therefore strike all costs other than the $70, without prejudice to the state seeking reassessment upon proper notice to the defendant. Jenkins v. State, 444 So.2d 947 (Fla.1984); Sescon v. State, 506 So.2d 45 (Fla.2d DCA 1987).
SCHEB, A.C.J., and CAMPBELL, J., concur.
